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               EXHIBIT A
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              IN THE CIRCUIT COUR7' OF COOK COLNTY, I_LLINOIS
                    COUNTY DCPARTMENT, LAW DIVISION

 GARY PUHR,                                                              2014Ie_006611
                                                      Case No.
 Plaintiff,                                                     Re tmI. =.a~tory aischar-,~a
                                                      JURY TRIAL DEMANDEA ~
 V.

 UNIVAR, INC.,

 Defendant.
                                                                                .....      ~
                                                                                         - ~
                               VERIFIED COMPLAINT                                       - " ~

        Plai.ntiff, GARY PUHR (`'Mr. Puhr"), by and through his undersigned eounsel,

Michael I. Leonard, Ethan E. VVhite, and Leonard Law C}ffices, states as follows as his

Verified Complaint against Defendant, UNIVAR, INC., ("UNIVAR"):

       THE PARTIES

        1. Plaintiff, Mr. Puhr, is a citizen and resident of the State of Illinois, who

resides in Warrenville, Illinois. At all relevant times, Mr. Puhr was employed by

UNIVAR.

       2. Defendant, IJNIVAR, is a Delaware corporation. UNIVAR is in the

chemical distribution business, and it is headquarted in Redmond, Washington.

UNIVAR employs more than 7,000 employees worldwide and generates net sales on an

annual basis in of niiie billion dollars. UNIVAR has at all relevant tirnes been doing

business, and regularly and continuously transacting business in the State of Illinois and

in this County.



       3. Venus is proper in this Court pursuant to 735 ILCS 5/2-141 (1) and (2).
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        BACKGROUND FACTS

        4. UNIVAR hired Mr. Puhr on or about June 2013 for the position of Delivery

Specialist.

        5. Mr. Puhr at all relevant times met and/or exceeded UNIVAR'S

legitimate performance expectations.

        6. On December 31, 2013, Mr. Puhr was working for UNIVAR at a job at PQ

Corporation in Joliet, Illinois.

        7. As a result of his assignment and work at that site on that occasion, Mr. Puhr

suffered a work-related injury, namely chemical burns to his feet. Mr. Puhr was taken to

the emergency room for treatment.

        8. At the hospital, Ivir. Puhr's Supervisor, an employee of UNIVAR, met with

Mr. Puhr met and told him, inter alia, that Mr. Puhr was not in trouble; that he was a

good employee; and that it was PG's fault for 1VIr. Puhr's injury because it had allowed

sodium hydroxide to remain sitting in the containment area.

        9. Subsequently, Mr. Puhr's course of treatment entailed, among other things,

treatment at Loyola's burn unit, as well as skin graft surgery.

        10.Ultimately, Mr. Puhr was released from the hospital after approximately one

week.

        11.Mr. Puhr filed for and began receiving workmens' compensation benefits.

        12.During that time period, Mr. Puhr was unable to return to work, and attended

doctor's visits on a regular basis.

        13.While on workmens' compensation, the Coordinating Nurse who attended Mr.




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Puhr's doctor's visits with him regularly reported Mr. Puhr's progress and status to

UNIVAR's human resources representatives as well to Mr. Puhr's Supervisor.

        14.During that time period, Mr. Puhr's Supervisor regularly check in with him.

        15.In April 2014, Mr. Puhr's Supervisor provided him with a new pair of work

boots for Mr. Puhr's return to work.

        16.On May 19, 2014, Mr. Puhr visited his treating doctor and suggested that Mr.

Puhr return to work on a part-time basis, with the expectation that Mr. Puhr would be

able to return to his full-time duties within two weeks.

        17.According to Mr. Puhr's workmens' compensation Coordinating Nurse, she

discussed this plan with UNIVAR and it had approved it.

        18.Mr. Puhr's Supervisor told him that he wanted him to come in for training on

May 20, 2014. However, Mr. Puhr's Supervisor later instructed him not to report to work

in light of the fact that his return to work was only part-time.

        19.W. Puhr's Supervisor subsequently told Mr. -Puhr not to report to work until

he heard back from him.

        20. On May 30, 2014, Mr. Puhr's Supervisor told him not to return to work until

he obtained a full release.

        21. On June 2, 2014, Mr. Puhr provided his Supervisor with a full return to work

clearance from his doctor.

        22. On June 3, 2014, Mr. Puhr reported to work at UNIVAR, ready, willing, and

able to return to his job related duties.

        23. On that same day, UNIVAR immediately fired Mr. Puhr.

        24. UNIVAR fired Mr. Puhr because he had exercised his rights, and filed for and




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received workmens' compensation benefits.

        25. UNIVAR attempted to cover up its true motivations for the

tennination of Mr. Puhr by falsely claiming that he was being fired purportedly because

he had not worn rubber boots at the time of his work-related accident back in December

2013.

        26. Rubber boots were not part of the required workwear that Mr. Puhr and his

fellow employees had been then required to wear.

        27. IJNIVAR'S termination of Mr. Puhr was illegal and in retaliation for

exercising his rights under the Workmens' Compensation Act.

        LEGAL CLAIMS

                                      COUNTI

                       (Common Law Retaliatory Discharge)

        28. Mr. Puhr incorporates by reference, as though fully set forth herein,

Paragraphs 1 through 27 above as Paragraph 28 of Count I of this Complaint.

        29. UNIVAR'S termination of Mr. Puhr was in retaliation for his

above-described protected activity.

        30. iTNIVAR'S retaliatory termination of Mr. Puhr violates a clear and long-

standing ma0ndate of Illinois public policy, i.e., allowing employees to exercise their

right to file for and receive workmens' compensation benefits.

        31. UNIVAR acted intentionally, willfully, and wantonly, and with intentional

disregard for Mr. Puhr's rights and the law.

        32. As a direct and proximate result of LTIVIVAR'S retaliatory discharge,




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Mr. Puhr has suffered damages, including but not limited to: loss of wages, loss of

benefits, and emotional distress.

       WHEREFORE, Plaintiff, Gary Puhr, by and through his undersigned counsel,

respectfully prays for the entry of judgment in his favor and against the Defendant,

UNIVAR, on Count I of this Complaint, in an amount in excess of $75,000, for

compensatory damages, for his attorneys' fees and costs, for punitive damages, and for

all such other and fiuther relief as is appropriate under the circumstances.




                               JURY TRIAL DEMANDED



                               RESPECTFULLY Si1BMITTED,



                                      Counsel for Plainti


LEONARD LAW OFFICES
Michael I. Leonard
Ethan E. White
203 North LaSalle, Suite 1620
Chicago, Illinois 60601
(312) 380-6659 (direct)
(312)264-0671 (fax)
mleonard@leonardlawoffices.com
ewhite@leonardlawoffices.com
Law Firm I.D. No. 56296
June 20, 2014




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            The wo.dersigmed, Gary Puhr, af3er being first duly sworm on oath, deposes and
    states that he has personal kaowledge of the above Vezified Complaint, and tliat its
    contents aze true and conect to the best of his knowledge, infonmation, and beliet after
    zeasonable and dlligent inquiry.


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